Case 4:22-cv-00864-Y              Document 138   Filed 03/15/24   Page 1 of 1    PageID 2078


                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION


ERIC L. ELLIS                                    §
                                                 §
VS.                                              §         ACTION NO. 4:22-CV-864-Y
                                                 §
CARGILL MEAT SOLUTIONS, et al.                   §

                                         FINAL JUDGMENT

          This judgment is issued as required by Federal Rule of Civil

Procedure         58.        In   accordance     with    the   Court’s   order    granting

Defendant’s motion to dismiss, dated this same day, this case is

DISMISSED with prejudice.


        The clerk shall transmit a true copy of this judgment to the

parties.

        SIGNED March 15, 2024.

                                                        ____________________________
                                                        TERRY R. MEANS
                                                        UNITED STATES DISTRICT JUDGE




FINAL JUDGMENT – PAGE SOLO
